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 6
     L. Ray Harmon

 7
                            UNITED STATES DISTRICT COURT
 8
                           CENTRAL DISTRICT OF CALIFORNIA
 9

10   L. Ray Harmon,                                   Case No. 2:20-cv-10563
11
                      Plaintiff,                      COMPLAINT
12

13
                      v.
14

15   Red Lobster; HCL Inglewood Village, LLC
     and Does 1-10, inclusive,
16

17                    Defendants.
18

19         Plaintiff, L. Ray Harmon, hereby complains and alleges as follows:
20

21                                 NATURE OF THE ACTION
22                1. This is an action seeking to remedy unlawful discrimination by
23   the Defendants against the Plaintiff in the Defendants’ places of public
24   accommodation in violation of the Americans with Disabilities Act [42 U.S.C. §
25
     12101, et seq.] (the “ADA”) and the Unruh Civil Rights Act [California Civil Code
26
     § 51, et seq.] (the “Unruh Act”).
27

28                                          -1-
                                          COMPLAINT
29

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 1
                                           PARTIES
 2                 2. Plaintiff, L. Ray Harmon, is a resident of the state of California
 3   who requires the use of a wheelchair for mobility purposes and who is therefore a
 4   “person with a disability” within the meaning of the ADA and Cal. Government
 5   Code § 12926.
 6                 3. The Defendants (defined below) discriminated against
 7
     Plaintiff in the full and equal enjoyment of the goods, services, facilities,
 8
     privileges, advantages, or accommodations on the basis of Plaintiff’s disability at
 9
     the Subject Property (defined below) in violation of the ADA [42 U.S.C. §§
10
     12182(a), 12182(b)(2)(A)(iv) and 12182(b)(2)(A)(v)].
11
                   4. The Defendant’s failure to make reasonable modifications in
12
     policies, practices, or procedures when such modifications are necessary to afford
13

14
     goods, services, facilities, privileges, advantages, or accommodations to

15   individuals with disabilities prevented Plaintiff from enjoying fair and equal access
16   to the Subject Property (defined below) in violation of the ADA [42 U.S.C. §
17   12182(b)(2)(A)(ii)].
18                 5. Defendant, Red Lobster, owns, operates, or leases
19   real property located at 3400 W Century Blvd, Inglewood, CA 90303, also known
20   as Los Angeles County Assessor’s Parcel No. 4030-002-056(the “Subject
21
     Property”).
22
                   6. Defendant, HCL Inglewood Village, LLC, owns, operates, or
23
     leases real property located at 3400 W Century Blvd, Inglewood, CA 90303, also
24
     known as Los Angeles County Assessor’s Parcel No. 4030-002-056(the “Subject
25
     Property”).
26
                   7. The Subject Property is a commercial facility open to the general
27

28                                            -2-
                                            COMPLAINT
29

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 1
     public, is a public accommodation, and is a business establishment insofar as
 2   goods and/or services are made available to the general public thereat. Defendant
 3   Does 1 through 10, inclusive, are sued herein under fictitious names. Their true
 4   names and capacities are unknown to the Plaintiff. When their true names and
 5   capacities are ascertained, Plaintiff will amend this complaint by inserting their
 6   true names and capacities herein. Plaintiff is informed and believes and thereon
 7
     alleges that each of the fictitiously named Defendants are responsible in some
 8
     manner for the occurrences herein alleged, and that the harm to Plaintiff herein
 9
     alleged were proximately caused by those Defendants.
10

11
                                JURISDICTION AND VENUE
12
                   8.   This Court has jurisdiction over the subject matter of this action
13

14
     pursuant 28 U.S.C. § 1331 and 28 U.S.C. §§ 1343(a)(3) and 1343(a)(4) for

15   violations of the ADA.
16                 9.   This Court has supplemental jurisdiction over the state law
17   claims alleged herein under the Unruh Act because the state law claim is an
18   attendant and related cause of action that arises from the same nucleus of operative
19   facts and arising out of the same transaction or occurrence as the federal law
20   claims set forth herein.
21
                   10. Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b)
22
     based on the fact that the real property that is the subject of this action is located in
23
     this district and the Plaintiff’s causes of action arose in this district.
24

25
                                   STATEMENT OF FACTS
26
                   11. Parking spaces, accessible aisles, paths of travel, signage,
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28                                             -3-
                                             COMPLAINT
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Case 2:20-cv-10563-DSF-AGR Document 1 Filed 11/19/20 Page 4 of 16 Page ID #:4




 1
     doorways, service counters, customer areas and goods/services are among the
 2   facilities, privileges and advantages offered by the Defendants to patrons of the
 3   Subject Property.
 4                12.    The Subject Property does not comply with the minimum
 5   requirements of the ADA and is therefore not equally accessible to Plaintiff or
 6   similarly situated persons with mobility disabilities.
 7
                  13.    In September, 2020 and continuously from that time to the
 8
     Present, and currently, the Subject Property has not been in compliance with the
 9
     ADA (the “Barriers”):
10
                         A.    The Subject Property lacks the minimum required
11
     number of ADA compliant accessible parking spaces.
12
                         B.    There was no diagonal striped marking and no blue
13

14
     border around where an access aisle is supposed to exist adjacent to any designated

15   accessible parking space(s) serving the Subject Property.
16                       C.    The designated “accessible” parking space(s) and/or blue
17   striped access aisles provided at the Subject Property are smaller than permitted by
18   the ADA.
19                       D.    The designated “accessible” parking spaces at the Subject
20   Property do not provide accessible parking signage as required by the ADA.
21
     Among other things, they fail toprovide tow-away signage and “Minimum Fine
22
     $250” signage as required by the ADA and state law to beposted near the
23
     designated accessible parking space(s).
24
                         E.    The designated “accessible” parking spaces at the Subject
25
     Property do not provide the universal symbol of accessibility.
26

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28                                           -4-
                                           COMPLAINT
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 1
                           F.    There is no twelve-inch high “NO PARKING” lettering
 2   on the blue-striped parking accessaisle(s) serving the Subject Property.
 3                         G.    There was no designated “van accessible” parking space
 4   with a corresponding 96” access aisle opposite the driver’s side when the vehicle is
 5   going forward into the parking space and no sign or additional language stating
 6   “Van Accessible” below the symbol of accessibility located in a manner that is not
 7
     obstructed.
 8
                           H.    The designated accessible parking spaces serving the
 9
     Subject Property were not located closest to the accessible entrance but, instead,
10
     were located at an unreasonable distance or across a hazardous vehicular route
11
     where safer alternative accommodations are possible.
12
                           I.    There were no accessible paths of travel from public
13

14
     transportations stops, accessible parking, public streets and sidewalks to the

15   building entrances serving the Subject Property.
16                         J.    The service counters, point of sale machines and/or self-
17   serve equipment serving the Subject Property are not within an operable reach
18   range.
19                         K.    The designated accessible parking spaces have been
20   completely blocked and impeded by temporary seating so as to render them
21
     completely inaccessible to Plaintiff and similarly situated persons with mobility
22
     disabilities.
23
                     14.   Plaintiff personally encountered one or more of the Barriers
24
     at the Subject Property in September, 2020.
25
                     15.   From September, 2020 to the present, the Plaintiff has been
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28                                             -5-
                                             COMPLAINT
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 1
     deterred from the Subject Property because of his knowledge of the existence of
 2   Barriers.
 3                16.   The existence of Barriers, the implementation of discriminatory
 4   policies, practices and procedures, and other ADA violations at the Subject
 5   Property caused Plaintiff difficulty, discomfort or embarrassment or reasonably
 6   dissuaded or deterred Plaintiff from accessing the Subject Property on particular
 7
     occasions between September, 2020 and the present.
 8
                  17.   Plaintiff would like to return and patronize the Subject Property
 9
     and use the business establishments thereat and intends to do so in the near future
10
     but will be deterred from doing so until all ADA violations are remediated.
11
                  18.   On information and belief, the remediation of violations
12
     identified hereinabove, to be identified by the Defendants in discovery, and to be
13

14
     discovered by Plaintiff’s experts are all readily achievable in that the removal of

15   them by the Defendants is and has been easily accomplishable without much
16   difficulty or expense.
17                19.   Defendants violated the ADA by failing to remove all mobility-
18   related architectural barriers at the Subject Property. On information and belief,
19   Plaintiff alleges that the failure to remove barriers has been knowing, willful and
20   intentional because the barriers described herein are clearly visible and tend to be
21
     obvious even to a casual observer and because the Defendants operate the Subject
22
     Property and have control over conditions thereat and as such they have, and have
23
     had, the means and ability to make the necessary remediation of access barriers if
24
     they had ever so intended.
25
                  20.   On information and belief, access barriers at the Subject
26

27

28                                           -6-
                                           COMPLAINT
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 1
     Property are being consciously ignored by the Defendants; the Defendants have
 2   knowingly disregarded the ongoing duty to remove the Barriers in compliance with
 3   the ADA. Plaintiff further alleges on information and belief that there are other
 4   ADA violations and unlawful architectural barriers at the Subject Property that
 5   relate to Plaintiff’s mobility disability that will be determined in discovery, the
 6   remediation of which is required under the ADA.
 7
                  21.    Plaintiff hereby seeks to remediate and remove all barriers
 8
     related to his disability, whether presently known or unknown. As the court held
 9
     in Doran v. 7-11. Inc., 506 F.3d 1191 (9th Cir. 2008):
10
           “[W]here a disabled person has Article III standing to bring a claim for
11         injunctive relief under the ADA because of at least one alleged statutory
12         violation of which he or she has knowledge and which deters access to, or
           full use and enjoyment of, a place of public accommodation, he or she may
13
           conduct discovery to determine what, if any, other barriers affecting his or
14         her disability existed at the time he or she brought the claim. This list of
15         barriers would then in total constitute the factual underpinnings of a single
           legal injury, namely, the failure to remove architectural barriers in violation
16
           of the ADA, which failure actually harmed the disabled person by deterring
17         that disabled person from visiting a facility that otherwise would have been
           visited at a definite future time, yielding Article III standing.”
18

19                22.    Even if strictly compliant barrier removal were determined to
20   be structurally or otherwise impracticable, there are many alternative methods of
21
     providing accommodations that are readily apparent and that could provide a
22
     greater degree of accessibility to the Plaintiff and similarly situated persons but for
23
     the Defendants’ discriminatory policies, practices and procedures and Defendants’
24
     conscious indifference to their legal obligations and to the rights of persons with
25
     mobility disabilities. Defendants’ failure to implement reasonable available
26

27

28                                            -7-
                                            COMPLAINT
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 1
     alternative methods of providing access violates the ADA [42 U.S.C. §
 2   12182(b)(2)(A)(v)].
 3                23.    The violations and references to code sections herein are not
 4   all-inclusive. Plaintiff will amend this complaint to provide a complete description
 5   of the full scope of ADA violations after conducting a comprehensive expert site
 6   inspection and other discovery. For the purposes of this Complaint, Plaintiff
 7
     asserts that the barriers alleged herein violate one or more of the ADA’s
 8
     implementing regulations. The Defendants have maintained and continue to
 9
     maintain discriminatory policies, procedures and practices that disregard their
10
     obligations under the ADA by allocating resources for physical improvements to
11
     the Subject Property that were did not provide legally required accessibility
12
     improvements, by failing to conduct ADA self-inspections or create ADA
13

14
     compliance plans regarding the Subject Property, by causing alterations to be made

15   to the Subject Property in disregard of ADA requirements, and for failing and
16   refusing to make necessary accommodations for persons with mobility disabilities
17   at the Subject Property. Plaintiff seeks a declaration that the Defendants’ disability
18   rights compliance policies, procedures and practices are discriminatory and violate
19   the ADA.
20                             FIRST CAUSE OF ACTION
21                            Discrimination Based on Disability
                                 [42 U.S.C. §§ 12101, et seq.]
22
                              By Plaintiff against all Defendants
23

24                24.    Plaintiff re-alleges and incorporates by reference as though
25
     fully set forth herein the allegations contained in all prior paragraphs of this
26
     complaint.
27
                  25.    The ADA obligates owners, operators, lessees and lessors of
28                                            -8-
                                            COMPLAINT
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 1
     public accommodations to ensure that the privileges, advantages, accommodations,
 2   facilities, goods and services are offered fully and equally to persons with
 3   disabilities, including the Plaintiff and others similarly situated [42 U.S.C. §
 4   12182(a)].
 5                26.    Discrimination is defined in the ADA, inter alia, as follows:
 6                       A.     A failure to remove architectural barriers where such
 7
     removal is readily achievable [42 U.S.C. § 12182(b)(2)(A)(iv)]. Architectural
 8
     barriers are identified and described in the Americans with Disabilities Act
 9
     Accessibility Guidelines (the “ADAAG”) [28 C.F.R. Part 36, Appendix “D”].
10
                         B.     A failure to make alterations in such a manner that, to the
11
     maximum extent feasible, the altered portions of the facility are readily accessible
12
     to and usable by individuals with disabilities, including individuals who use
13

14
     wheelchairs or to ensure that, to the maximum extent feasible, the path of travel to

15   the altered area and the bathrooms, telephones, and drinking fountains serving the
16   altered area, are readily accessible to and usable by individuals with disabilities [42
17   U.S.C. § 12183(a)(2)].
18                       C.     Where an entity can demonstrate that the removal of a
19   barrier is not readily achievable, a failure to make such goods, services, facilities,
20   privileges, advantages, or accommodations available through alternative methods
21
     if such methods are readily achievable [42 U.S.C. § 12182(b)(2)(A)(v)].
22
                         D.     A failure to make reasonable modifications in
23
     policies, practices, or procedures, when such modifications are necessary to afford
24
     such goods, services, facilities, privileges, advantages, or accommodations to
25
     individuals with disabilities, unless the entity can demonstrate that making such
26
     modifications would fundamentally alter the nature of such goods, services,
27

28                                            -9-
                                            COMPLAINT
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  1
      facilities, privileges, advantages, or accommodations [42 U.S.C. §
  2   12182(b)(2)(A)(ii)].
  3               27.    The ADA, the ADAAG’s 1991 Standards (the “1991
  4   Standards”) and 2010 Standards (the “2010 Standards”), and the California
  5   Building Code (the “CBC”) contain minimum standards that constitute legal
  6   requirements regarding wheelchair accessibility at places of public
  7
      accommodation:
  8
                         A.    If parking spaces are provided for self-parking by
  9
      employees or visitors, or both, then the subject property must provide at least the
 10
      minimum required number of accessible parking spaces.Accessible parking
 11
      spaces must be marked to define their width and must have an adjacent ADA
 12
      compliant access aisle. Accessible parking spaces must be at least 96 inches wide
 13

 14
      and van parking spaces must be at least 132 inches wide except that van parking

 15   spaces can be 96 inches wide where the access aisle is not less than 96 inches
 16   wide [1991 Standards § 4.1.2(5); 2010 Standards § 208 and 502.2]. Here, the
 17   Subject Property does not comply with the ADA.
 18                      B.    To qualify as a reserved handicap parking space, the
 19   space must be properly marked and designated. Under the ADA, the method,
 20   color of marking and length of the parking space are to be addressed by state or
 21
      local laws of regulations [1991 Standards § 4.6; 2010 Standards §§ 502, 502.3.3
 22
      and 503].
 23
                         C.    To properly and effectively reserve a parking space for
 24
      persons with disabilities, each parking space must be at least 216 inches in length
 25
      [CBC § 11B-502.2].
 26

 27

 28                                          -10-
                                           COMPLAINT
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  1
                         D.    Each parking space reserved for persons with disabilities
  2   shall be identified by a reflectorized sign permanently posted immediately
  3   adjacent to and visible from each stall or space, consisting of the International
  4   Symbol of Accessibility in white on a dark blue background. The sign shall not be
  5   smaller than 70 square inches (4516 mm2) in area and, when in a path of travel,
  6   shall be posted at a minimum height of 80 inches (2032 mm) from the bottom of
  7
      the sign to the parking space finished grade. Signs may also be centered on the
  8
      wall at the interior end of the parking space. An additional sign or additional
  9
      language below the symbol of accessibility shall state "Minimum Fine $250"
 10
      [2010 Standards § 502.6; CBC § 1129B.4].
 11
                         E.    Signs identifying accessible parking spacesmust include
 12
      the International Symbol of Accessibility [2010 Standards §§ 502.6].
 13

 14
                         F.    To properly and effectively reserve a parking space for

 15   persons with disabilities, the surface of the access aisle must have a blue
 16   border; the words “NO PARKING” in letters at least a foot high must be
 17   painted on the access aisle [CBC § 1129B.3].
 18                      G.    One in every eight accessible spaces, but not less than
 19   one, must be served by a loading and unloading access aisle 96 inches (2438 mm)
 20   wide minimum placed on the side opposite the driver’s side when the vehicle is
 21
      going forward into the parking space and shall be designated van accessible. Van
 22
      accessible spaces must have an additional sign or additional language stating "Van
 23
      Accessible" below the symbol of accessibility. Signs identifying accessible
 24
      parking spaces must be located so they cannot be obscured by a vehicle parked in
 25
      the space[1991 Standards § 4.6; 2010 Standards §§ 502; CBC §§ 1129B.3
 26
      and B4].
 27

 28                                          -11-
                                           COMPLAINT
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  1
                          H.     Accessible parking spaces serving the Subject Property
  2   must be located on the shortest accessible route of travel from adjacent parking to
  3   an accessible entrance. In buildings with multiple entrances with adjacent parking,
  4   accessible parking spaces must be dispersed and located closest to the accessible
  5   entrances [1991 Standards § 4.6.2; 2010 Standards § 208.3.1].
  6                       I.     At least one accessible route must be provided from
  7
      public transportation stops, accessible parking, and accessible passenger
  8
      loading zones, and public streets or sidewalks to the accessible building
  9
      entrance they serve. The accessible route must, to the maximum extent
 10
      feasible, coincide with the route for the general public, must connect
 11
      accessible buildings, facilities, elements, and spaces that are on the same
 12
      site, and at least one accessible route must connect accessible building or
 13

 14
      facility entrances with all accessible spaces and elements and with all

 15   accessible dwelling units within the building or facility [1991 Standards
 16   §§4.1.2(1) and 4.3.2; 2010 Standards §§206 and 401].
 17                       J.     In public accommodations where counters have cash
 18   registers or are provided for sales or distribution of goods or services to the public,
 19   at least one of each type of counter must have a portion that is at least 36 in
 20   (915mm) in length with a maximum height of 36 in (915 mm) above the finished
 21
      floor. The checkout counter surface height can be no more than 38 inches
 22
      maximum above the finished floor or ground. The top of the counter edge
 23
      protection can be up to 2 inches above the top of the counter surface on the
 24
      aisle side of the checkout counter. Clear floor space that allows a forward
 25
      or parallel approach by a person using a wheelchair must be provided at
 26
      controls, dispensers, receptacles and other operable equipment [1991
 27

 28                                            -12-
                                             COMPLAINT
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  1
      Standards §§ 7.1(1), 7.2, 4.27.2; 2010 Standards §§ 309.2, 902.3, 904.3.2 and
  2   904.3.3].
  3               28.   The Defendants have failed to comply with minimum
  4   ADA standards and have discriminated against Plaintiff on the basis of
  5   Plaintiff’s mobility disability. Each of the barriers and accessibility
  6   violations set forth above is readily achievable to remove, is the result of an
  7
      alteration that was completed without meeting minimum ADA standards,
  8
      or could be easily remediated by implementation of one or more available
  9
      alternative accommodations. Accordingly, the Defendants have violated
 10
      the ADA.
 11
                  29.   The Defendants are obligated to maintain in operable
 12
      working condition those features of the Subject Property’s facilities and
 13

 14
      equipment that are required to be readily accessible to and usable by

 15   Plaintiff and similarly situated persons with disabilities [28 C.F.R. §
 16   36.211(a)]. The Defendants failure to ensure that accessible facilities at the
 17   Subject Property were available and ready to be used by the Plaintiff
 18   violates the ADA.
 19               30.   The Defendants have a duty to remove architectural
 20   barriers where readily achievable, to make alterations that are consistent
 21
      with minimum ADA standards and to provide alternative accommodations
 22
      where necessary to provide wheelchair access. The Defendants benign
 23
      neglect of these duties, together with their general apathy and indifference
 24
      towards persons with disabilities, violates the ADA.
 25
                  31.   The Defendants have an obligation to maintain policies,
 26
      practices and procedures that do not discriminate against the Plaintiff and
 27

 28                                        -13-
                                         COMPLAINT
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  1
      similarly situated persons with mobility disabilities on the basis of their
  2   disabilities. The Defendants have maintained and continue to maintain a policy of
  3   disregarding their obligations under the ADA, of allocating resources for
  4   improvements insufficient to satisfy legal requirements regarding accessibility
  5   improvements, of failing to conduct ADA self-inspections or create ADA
  6   compliance plans, of causing alterations to be made to the Subject Property in
  7
      disregard of ADA requirements, and of failing and refusing to make necessary
  8
      accommodations for persons with mobility disabilities at the Subject Property, in
  9
      violation of the ADA.
 10
                   32.    The Defendants wrongful conduct is continuing in that
 11
      Defendants continue to deny full, fair and equal access to their business
 12
      establishment and full, fair and equal accommodations, advantages,
 13

 14
      facilities, privileges and services to Plaintiff as a disabled person due to

 15   Plaintiff’s disability. The foregoing conduct constitutes unlawful
 16   discrimination against the Plaintiff and other mobility disabled persons
 17   who, like the Plaintiff, will benefit from an order that the Defendants
 18   remove barriers and improve access by complying with minimum ADA
 19   standards.
 20                            SECOND CAUSE OF ACTION
 21                            Violations of the Unruh Rights Act
                                 [Cal.Civil Code§ 51, et seq.]
 22
                               By Plaintiff against all Defendants
 23

 24                33.    Plaintiff re-alleges and incorporates by reference as though
 25
      fully set forth herein the allegations contained in all prior paragraphs of this
 26
      complaint.
 27
                   34.    The foregoing violations of the ADA constitute per se
 28                                            -14-
                                             COMPLAINT
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  1
      violations of the Unruh Act [Cal.Civil Code§ 51(f)].
  2               35.   Plaintiff personally encountered Barriers at the Subject
  3   Property and has experienced, difficulty, discomfort or embarrassment or
  4   has been reasonably dissuaded or deterred from accessing the Subject
  5   Property on particular occasions due to ADA violations which would have
  6   actually denied Plaintiff full and equal access if he had attempted to access
  7
      the Subject Property on those particular occasions.
  8
                  36.   Due to the unlawful discrimination set forth above,
  9
      Plaintiff has been denied the right and entitlement to full and equal
 10
      accommodations, advantages, facilities, privileges or services by the
 11
      Defendants at the Subject Property in violation of the Unruh Act.
 12

 13

 14
                                PRAYER FOR RELIEF

 15         Plaintiff prays to this Court for injunctive, declaratory and all other
 16   appropriate relief under the ADA and the Unruh Act, including but not
 17   limited to reasonable attorney’s fees, litigation expenses and costs of suit
 18   pursuant to 42 U.S.C. § 12205 and Cal. Civil Code § 52.
 19         Note: Plaintiff is not invoking Cal. Civil Code § 55 and does
 20         not seek injunctive relief under the Disabled Persons Act at all.
 21   Respectfully submitted,
 22

 23
      Dated: 11/18/2020     LAW OFFICES OF ROSS CORNELL, APC

 24

 25                                 By: /s/ Ross Cornell
                                        Ross Cornell, Esq.,
 26
                                        Attorneys for Plaintiff,
 27                                     L. Ray Harmon
 28                                        -15-
                                         COMPLAINT
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 28                                     -16-
                                      COMPLAINT
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